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                                                                   March 5, 2025



BY CM/ECF

The Honorable Vernon S. Broderick
United States District Court
Southern District of New York
40 Foley Square
New York, New York 10007

The Honorable Lewis J. Liman
United States District Court
Southern District of New York
500 Pearl Street
New York, New York 10007

    Re:       Blumencranz v. Hochul, No. 25 Civ. 1787 (VSB) (“Blumencranz”); Chan v. U.S.
              Dep’t of Transp., No. 23 Civ. 10365 (LJL) (“Chan”); Mulgrew v. U.S. Dep’t of
              Transp., No. 24 Civ. 1644 (LJL) (“Mulgrew”); New Yorkers Against Congestion
              Pricing Tax v. U.S. Dep’t of Transp., No. 24 Civ. 367 (LJL) (“New Yorkers”);
              Trucking Ass’n of N.Y. v. Metro. Transp. Auth., 24 Civ. 4111 (LJL) (“TANY”);
              Metro. Transp. Auth. v. Duffy, No. 25 Civ. 1413 (LJL) (“Duffy”)

Dear Judges Broderick and Liman:

        We write on behalf of the Metropolitan Transportation Authority (“MTA”) and Triborough
Bridge and Tunnel Authority (“TBTA”), who are parties in the above-referenced cases concerning
New York’s Central Business District Tolling Program (“Program”), also known as congestion
pricing. Five of those six cases have already been designated related and assigned to Judge Liman.
See Chan, ECF 8; New Yorkers, ECF 3, 25; Mulgrew, ECF 44; TANY, ECF 10; Duffy, ECF 3. This
includes Mulgrew, which was originally assigned to Judge Broderick, but reassigned to Judge
Liman in March 2024. Mulgrew, ECF 43. Earlier this week, the sixth case, Blumencranz, was
filed against parties including MTA and TBTA, and was assigned to Judge Broderick. But because
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Blumencranz clearly concerns the same Program and subject matter as the other congestion pricing
cases and thus presents overlapping legal questions, we respectfully request that it be marked as
related to Chan, Mulgrew, New Yorkers, TANY, and Duffy and assigned to Judge Liman. See L.
Civ. R. 1.6; R. 13(b)(3), Rules for the Division of Business.

        As Your Honors are aware, to determine whether cases are related, the court considers
whether “the actions concern the same or substantially similar parties, property, transactions or
events; there is substantial factual overlap; the parties could be subjected to conflicting orders; and
whether absent a determination of relatedness there would be a substantial duplication of effort
and expense, delay, or undue burden on the court, parties or witnesses.” R. 13(a)(1)(A)–(D), Rules
for the Division of Business. 1

        The six cases at issue here easily meet the standard for relatedness. Each concerns the
Program and involves overlapping statutory and constitutional arguments challenging its legality.
As a result, designating Blumencranz as related to the other five matters and transferring it to Judge
Liman will best serve the interests of justice and judicial economy. This overlap is particularly
acute with respect to Duffy which, like Blumencranz, largely turns on the legality of U.S. Secretary
of Transportation Sean Duffy’s letter dated February 19, 2025, purporting to rescind TBTA’s
authority to collect tolls under the Program. Compare Blumencranz, ECF 1, ¶¶ 105-43 with Duffy,
ECF 1, ¶¶ 122-83. Indeed, Plaintiff Blumencranz actually references Duffy in his complaint. See
Blumencranz, ECF 1, ¶ 17.


                                                                Respectfully submitted,




                                                                Roberta A. Kaplan



cc:   Counsel of Record (via ECF)




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  Given that counsel appearing in a case “must bring to the attention of the court potentially related cases,” L. Civ.
R. 1.6, we do not understand the failure of Stefano Pérez, counsel to Plaintiff Jake Blumencranz, to do so when he
filed this case on March 3, 2025, especially given that there are not merely one or two but actually five other related
cases pending before Judge Liman, as has been reported widely in the press. See, e.g., Stefanos Chen & Winnie Hu,
Trump Wants Congestion Pricing Dead by March 21. New York Won’t Budge, N.Y. Times (Feb. 26, 2025),
https://www.nytimes.com/2025/02/26/nyregion/trump-nyc-congestion-pricing-deadline.html. If Mr. Pérez failed to
do so intentionally, that would constitute improper “judge shopping.” Gomez v. Dormont Mfg. Co., 2022 WL 374518,
at *4 (S.D.N.Y. Feb. 7, 2022).



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